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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


United States of America, et al.,

                              Plaintiffs,          Case No. 1:20-cv-03010-APM

v.                                                 HON. AMIT P. MEHTA
Google LLC,

                              Defendant.




State of Colorado, et al.,

                              Plaintiffs,          Case No. 1:20-cv-03715-APM

v.                                                 HON. AMIT P. MEHTA
Google LLC,

                              Defendant.



                                    JOINT STATUS REPORT

        The parties in United States v. Google LLC and State of Colorado v. Google LLC

submit the following Joint Status Report to update the Court on their progress concerning

discovery related issues and whether the Court’s intervention will be required.

        The parties have continued to work in good-faith to resolve discovery disputes as

they arise and currently have no disputes requiring Court intervention. As such, the April

19 status conference can be vacated as unnecessary.

Dated: April 18, 2022                       Respectfully submitted,

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